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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                  LOUISVILLE DIVISION

UNITED STATES OF AMERICA,                                                                 Plaintiff,

v.                                                              Criminal Action No. 3:25-CR-96-DJH

CHARLES O’LOAN                                                                          Defendant.

                                                 * * * * *

                           ORDER FOLLOWING ARRAIGNMENT

        Proceedings were held, by video, on June 20, 2025, for the purpose of arraignment. The

defendant, Charles O’Loan, was present with Scott T. Wendelsdorf, Federal Defender. Assistant

United States Attorney Danielle Yannelli was present for the United States of America. The

proceeding was digitally recorded.

        As to the matter of arraignment, Defendant, by counsel, acknowledged his identity. He

further acknowledged having been furnished a copy of the Indictment and advised of the nature

of the charges contained therein.

        Counsel, on behalf of Defendant, waived formal reading of the Indictment and entered a

plea of NOT GUILTY to the charges contained therein. Accordingly, it is hereby

        ORDERED as follows:

        (1)     This matter is assigned for trial by jury at Louisville, Kentucky, on August 25,

2025, at 9:00 a.m., before the Honorable David J. Hale, United States District Judge. Counsel

shall be in court thirty minutes before trial.

        (2)     Pretrial discovery and inspection.




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               (a)    No later than June 27, 2025, the Assistant United States Attorney and

defense counsel shall confer and, upon request, permit inspection and copying or photographing

of all matter subject to disclosure under Federal Rule of Criminal Procedure 16.

               (b)    If additional discovery or inspection is sought, Defendant’s attorney shall

confer with the Assistant United States Attorney with a view to satisfying these requests in a

cooperative atmosphere without recourse to the Court. The request may be oral or written, and

the Assistant United States Attorney shall respond in like manner.

                      (i)     Jencks Act material. Jencks Act material pursuant to 18 U.S.C.
                              § 3500 is not required to be furnished to Defendant by the United
                              States prior to trial.

                      (ii)    Brady (Giglio) material. The United States shall disclose any
                              Brady material of which it has knowledge in the following manner:

                              (A)    pretrial disclosure of any Brady material discoverable
                                     under Rule 16(a)(1);

                              (B)    disclosure of all other Brady material in time for effective
                                     use at trial.

               If the United States has knowledge of Brady evidence and is unsure as to the
       nature of the evidence and the proper time for disclosure, then it may request an in
       camera hearing for the purpose of resolving this issue; failure to disclose Brady material
       at a time when it can be effectively used at trial may result in a recess or a continuance so
       that Defendant may properly utilize such evidence.

                              (C)    Rule 404(b) evidence. Upon service of a request from
                                     Defendant for notice of Rule 404(b) evidence of other
                                     crimes, wrongs, or acts, the United States shall provide
                                     notice within fourteen (14) days of trial of the general
                                     nature of any such evidence it intends to introduce at trial
                                     unless the Court excuses pretrial notice upon motion by the
                                     United States showing good cause.

       Any motion for additional discovery or inspection shall be made on or before July 7,

2025, after compliance by the parties with Federal Rule of Criminal Procedure 16. Any such




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motion shall contain a certification from counsel that informal, extrajudicial efforts to resolve the

discovery dispute have taken place and been unsuccessful.

               (c)      If required to be disclosed pursuant to Federal Rule of Criminal Procedure

16(a)(1)(G) or 16(b)(1)(C), any expert testimony the United States or Defendant intends to use

under Rule 702, 703, or 705 of the Federal Rules of Evidence during its case-in-chief, including

a summary of the witness’s opinions, the bases and reasons for those opinions, and the witness’s

qualifications, shall be disclosed on or before July 14, 2025.

        Any expert testimony either the United States or Defendant intends to use to rebut an

expert under Rule 702, 703, or 705 of the Federal Rules of Evidence shall be disclosed on or

before July 21, 2025.

               (d)      The parties are reminded of the continuing duty under Federal Rule of

Criminal Procedure 16(c) to disclose additional discoverable evidence or material previously

requested or ordered.

        (3)    All motions to suppress evidence and any other motion requiring a pretrial

hearing, including any motion to exclude the testimony of an expert witness pursuant to Daubert

v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993), shall be filed no later than July 28,

2025.

        (4)    No later than August 4, 2025, each party shall file a trial memorandum

containing the following:

               (a)      The statute(s) involved and elements of the offense(s) (with discussion of
                        authorities, if disputed).

               (b)      A statement of undisputed and disputed facts.

               (c)      A separate statement of each unresolved substantive issue of law, with
                        discussion and citations to authorities.



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              (d)     A statement of evidentiary issues it is reasonably believed will be raised at
                      trial, together with citations to the appropriate Federal Rules of Evidence
                      and authorities in support of the position taken.

              (e)     A statement of any known or reasonably anticipated potential trial
                      problems, or other issues that may assist the Court in trying the case.

              (f)     Proposed substantive and special jury instructions with citations to
                      authorities. It is not necessary to submit standard general instructions.
                      Additional requests at trial are to be kept to a minimum.

              (g)     Proposed voir dire questions.

              (h)     Counsel shall file an exhibit list and premark for identification purposes
                      all exhibits intended to be used at trial. Counsel shall file a stipulation as
                      to the authenticity of the exhibits. Any objections to the authenticity of
                      the exhibits shall be heard prior to trial at a time and place to be set by the
                      Court.

              (i)     The United States shall submit, for the Court’s in camera review, a
                      proposed witness list with a brief summary of the expected testimony of
                      each witness and an estimate as to the amount of time that will be required
                      to present the testimony in chief of each witness.

              (j)     At the commencement of trial, the United States shall furnish the official
                      court reporter a list of premarked exhibits intended to be used at trial.

              (k)     The United States shall retain possession of physical exhibits (e.g.,
                      weapons, ammunition, drugs, etc.) during and after the trial, pending
                      further orders of the Court.

       (5)    Any motions in limine shall be filed on or before August 15, 2025. Responses

shall be filed on or before August 18, 2025. There shall be no replies.

       (6)    All motions, responses, and replies made pursuant to this Order shall be

accompanied by a memorandum and shall conform to and are subject to the requirements and

time limitations contained in Local Criminal Rule 12.1, except as otherwise provided herein.

       (7)    It is further ORDERED that Defendant shall be remanded to the United States

Marshal pending further order of the Court.




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Date: June 20, 2025                     ENTERED BY ORDER OF THE COURT:
                                        REGINA S. EDWARDS
                                        UNITED STATES MAGISTRATE JUDGE
                                        JAMES J. VILT, JR., CLERK
                                        BY: /s/ Ashley Henry, Deputy Clerk




Copies to:    Counsel of record
              U.S. Probation
              Natalie Thompson, Case Manager
              Jury Administrator




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